Case
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                  Exhibit A
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                                    Sourcewater Income Projections

                                                   8/23‐7/24       8/24‐7/25        8/25‐7/26
Income
 Sales
  Current Data Base Subscriptions              $ 348,219.75    $ 313,397.77 $         278,575.80
   New Subscriptions                           $        ‐      $        ‐   $                ‐
   Late Fees + CC Fees                         $        ‐      $        ‐   $                ‐
 Total Sales                                   $ 348,219.75    $ 313,397.77 $         278,575.80
Cost of Goods Sold
 Data Costs                                    $        ‐      $        ‐       $            ‐
 Website Hosting & Support                     $ 72,000.00     $ 72,000.00      $      72,000.00
Total Cost of Goods Sold                       $ 72,000.00     $ 72,000.00      $      72,000.00
Gross Profit                                   $ 276,219.75    $ 241,397.77     $     206,575.80


Expenses
 Advertising                                   $        ‐    $       ‐   $                   ‐
 Bank Charges                                  $        ‐    $       ‐   $                   ‐
 Conference Fees                               $        ‐    $       ‐   $                   ‐
 Industry Events/Materials                     $        ‐    $       ‐   $                   ‐
 Insurance                                     $ 11,841.12 $ 11,841.12 $               11,841.12
 Interest Expense                              $        ‐    $       ‐   $                   ‐
 Meals and Entertainment                       $        ‐    $       ‐   $                   ‐
 Memberships                                   $        ‐    $       ‐   $                   ‐
 Merchant Processing Fees                      $   3,482.20 $   3,133.98 $              2,785.76
 Office Expenses                               $        ‐    $       ‐   $                   ‐
 Office Rent                                   $     360.00 $     360.00 $                360.00
 Online Software & Subscriptions               $ 21,600.00 $ 21,600.00 $               21,600.00
 Payroll                                       $ 47,405.99 $ 50,669.89 $               48,928.79
 Product Consulting                            $        ‐    $       ‐   $                   ‐
 Professional Fees / BK Admin & Priority Tax   $ 243,000.00 $ 128,500.00 $             98,500.00
 Research & Development                        $        ‐    $       ‐   $                   ‐
 Shipping & Postage                            $        ‐    $       ‐   $                   ‐
 Taxes & Licenses                              $        ‐    $  2,500.00 $              2,500.00
 Travel                                        $        ‐    $       ‐   $                   ‐
 Utilities                                     $        ‐    $       ‐   $                   ‐
Total Expenses                                 $ 327,689.30 $ 218,604.99 $            186,515.67
Net Operating Income                           $ (51,469.56) $ 22,792.79 $             20,060.13

Other Income
Total Other Income                             $          ‐    $          ‐     $               ‐

Other Expenses                                 $        ‐    $            ‐     $            ‐
Total Other Expenses                           $        ‐    $            ‐     $            ‐
Net Other Income                               $        ‐    $            ‐     $            ‐
Projected Disposable Income                    $ (51,469.56) $      22,792.79   $      20,060.13
